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                       IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS (HOUSTON)

IN RE:                                               §                CASE NO. 20-33948 (MI)
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §
                                                     §                CHAPTER 11
                                                     §
                          DEBTORS1                   §                (JOINTLY ADMINISTERED)


    AMENDED NOTICE OF PERFECTION OF STATUTORY LIEN AND STATEMENT
       OF PRIVILEGE BY AGGREKO, LLC PURSUANT TO 11 U.S.C. § 546(B)(2)

         Aggreko, LLC (“Aggreko”), a creditor in the above-styled and numbered case, by and

through undersigned counsel, hereby gives notice of its valid, timely filed, and properly perfected

statutory mineral liens and statements of privilege against Fieldwood Energy LLC (the “Debtor”)

and certain of its non-Debtor affiliates under 11 U.S.C. § 546(b)(2) (the “Notice”):

1.       Section 546(b)(2) of Title 11 of the United States Code (the “Bankruptcy Code”) provides

that when applicable law requires seizure of property or commencement of an action to accomplish

perfection, or maintenance or continuation of perfection of an interest in property, the claimant

may file a notice with the Bankruptcy Court, in lieu of such seizure or commencement.

2.       Aggreko provided the Debtor with services, labor, equipment, machinery, materials and

supplies vital to the Debtor’s operations in the Gulf of Mexico. The Debtor’s operations on the

projects where Aggreko performed work would been compromised in whole or in part if not

entirely curtailed without Aggreko’s efforts.


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Holdings LLC (9264); Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore .LLC (4494); Fieldwood Onshore
LLC (3489); Fieldwood SD Offshore LLC (8786); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107); Bandon
Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay
Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000 W.
Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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3.     Aggreko sent numerous invoices to the Debtor totaling $875,476.48 for materials and

services provided to the Debtor’s oil and gas properties in the Gulf of Mexico between

approximately March 23, 2020 through August 3, 2020. Copies of the invoices are attached as

exhibits to the Lien Affidavits discussed below.

4.     The Debtor has yet to pay Aggreko for the services it provided. As a result, Aggreko filed

Sworn Affidavits Claiming Oil and Gas Liens (the “Lien Affidavits”), as follows:

       (1)     Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Jefferson County, Texas on September 22, 2020, duly recorded as Document
               Number 2020028877. The Lien Affidavit was executed by Brooke Doucet,
               Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “1.”

       (2)     Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Jefferson County, Texas on September 22, 2020, duly recorded as Document
               Number 2020028878. The Lien Affidavit was0 executed by Brooke Doucet,
               Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “2.”

       (3)      Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Jefferson County, Texas on September 22, 2020, duly recorded as Document
               Number 2020028879. The Lien Affidavit was executed by Brooke Doucet,
               Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “3.”

       (4)     Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Matagorda County, Texas on September 22, 2020, duly recorded as Document
               Number 5557. The Lien Affidavit was executed by Brooke Doucet, Collections
               Manager for Aggreko, LLC, and is attached hereto as Exhibit “4.”

       (5)     Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Matagorda County, Texas on September 22, 2020, duly recorded as Document
               Number 5558. The Lien Affidavit was executed by Brooke Doucet, Collections
               Manager for Aggreko, LLC, and is attached hereto as Exhibit “5.”

       (6)     Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Matagorda County, Texas on September 22, 2020, duly recorded as Document
               Number 5559. The Lien Affidavit was executed by Brooke Doucet, Collections
               Manager for Aggreko, LLC, and is attached hereto as Exhibit “6.”

       (7)     Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
               of Nueces County, Texas on September 22, 2020, duly recorded as Document
               Number 2020042401. The Lien Affidavit was executed by Brooke Doucet,
               Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “7.”

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(8)    Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
       of Galveston County, Texas on September 23, 2020, duly recorded as Document
       Number 2020059668. The Lien Affidavit was executed by Brooke Doucet,
       Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “8.”

(9)    Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
       of Brazoria County, Texas on September 22, 2020, duly recorded as Document
       Number 2020054722. The Lien Affidavit was executed by Brooke Doucet,
       Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “9.”

(10)   Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
       of Brazoria County, Texas on September 22, 2020, duly recorded as Document
       Number 2020054723. The Lien Affidavit was executed by Brooke Doucet,
       Collections Manager for Aggreko, LLC, and is attached hereto as Exhibit “10.”

(11)   Sworn Affidavit Claiming Oil and Gas Lien was filed in the real property records
       of Orange County, Texas on September 22, 2020, duly recorded as Document
       Number 492784. The Lien Affidavit was executed by Brooke Doucet, Collections
       Manager for Aggreko, LLC, and is attached hereto as Exhibit “11.”

(12)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Cameron Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 348087. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “12.”

(13)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Iberia Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 2020-00007496. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “13.”

(14)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Iberia Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 2020-00007497. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “14.”

(15)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Iberia Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 2020-00007498. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “15.”




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(16)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Iberia Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 2020-00007499. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “16.”

(17)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Iberia Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 2020-00007500. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “17.”

(18)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Iberia Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 2020-00007501. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “18.”

(19)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Jefferson Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 12044106. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “19.”

(20)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Jefferson Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 12044105. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “20.”

(21)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Jefferson Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 12044104. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “21.”

(22)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Jefferson Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 12044103. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “22.”

(23)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Jefferson Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 12044102. The Lien Affidavit was executed



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       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “23.”

(24)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Jefferson Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 12044101. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “24.”

(25)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Lafourche Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1302209. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “25.”

(26)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Lafourche Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1302210 The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “26.”

(27)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Lafourche Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1302211. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “27.”

(28)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Lafourche Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1302212. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “28.”

(29)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Lafourche Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1302213. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “29.”

(30)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Lafourche Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1302214. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “30.”




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(31)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003712. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “31.”

(32)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003713. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “32.”

(33)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003714. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “33.”

(34)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003715. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “34.”

(35)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003716. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “35.”

(36)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003717. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “36.”

(37)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003718. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “37.”

(38)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003719. The Lien Affidavit was



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       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “38.”

(39)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Plaquemines Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 2020-00003720. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “39.”

(40)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Bernard Parish, Louisiana on September 17, 2020,
       duly recorded as Document Number 635041. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “40.”

(41)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Bernard Parish, Louisiana on September 17, 2020,
       duly recorded as Document Number 635042. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “41.”

(42)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Bernard Parish, Louisiana on September 17, 2020,
       duly recorded as Document Number 635043. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “42.”

(43)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Bernard Parish, Louisiana on September 17, 2020,
       duly recorded as Document Number 635044. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “43.”

(44)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Mary Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 352571. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “44.”

(45)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Mary Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 352572. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “45.”




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(46)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Mary Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 352573. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “46.”

(47)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of St. Mary Parish, Louisiana on September 10, 2020, duly
       recorded as Document Number 352574. The Lien Affidavit was executed by
       Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as Exhibit
       “47.”

(48)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610282. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “48.”

(49)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610283. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “49.”

(50)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610284. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “50.”

(51)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610285. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “51.”

(52)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610286. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “52.”

(53)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610287. The Lien Affidavit was executed



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       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “53.”

(54)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610288. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “54.”

(55)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610290. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “55.”

(56)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610291. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “56.”

(57)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610292. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “57.”

(58)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610293. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “58.”

(59)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610294. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “59.”

(60)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610295. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “60.”




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(61)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610296. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “61.”

(62)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610297. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “62.”

(63)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Terrebonne Parish, Louisiana on September 10, 2020,
       duly recorded as Document Number 1610289. The Lien Affidavit was executed
       by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached hereto as
       Exhibit “63.”

(64)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Vermilion Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 2020006328. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “64.”

(65)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Vermilion Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 2020006329. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “65.”

(66)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Vermilion Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 2020006330. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “66.”

(67)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Vermilion Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 2020006331. The Lien Affidavit was
       executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
       hereto as Exhibit “67.”

(68)   Notice of Lien Claim and Privilege Pursuant to LSA-R.S. 9:4861, et seq. filed in
       the real property records of Vermilion Parish, Louisiana on September 11, 2020,
       duly recorded as Document Number 2020006332. The Lien Affidavit was



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               executed by Charles R. Minyard, Attorney for Aggreko, LLC, and is attached
               hereto as Exhibit “68.”

The Lien Affidavits also were recorded with the United States Bureau of Ocean Energy

Management.

5.     In accordance with Chapter 56, Texas Property Code, and LSA-R.S. 9:4861, the

recordation of the Lien Affidavits perfected Aggreko’s liens for the $875,476.48 that the Debtor

owes. The Lien Affidavits also provide a detailed description of the offshore leases that are subject

to Aggreko’s liens.

6.     Pursuant to section 546(b)(2) of the Bankruptcy Code, Aggreko hereby provides notice to

the Debtor, the Debtor’s counsel, the Office of the United States Trustee, and all parties requesting

notice of Aggreko’s rights as a perfected lienholder in materials and services provided pursuant to

Chapter 56, Texas Property Code and LSA-R.S. 9:4861. Aggreko is filing this Notice to preserve,

perfect, maintain, and continue its liens the laws of the states of Texas and Louisiana, and in order

to comply with Section 546(b)(2) of the Bankruptcy Code. Aggreko intends to enforce its statutory

lien rights to the fullest extent permitted by applicable law.

7.     The filing of this Notice shall not waive Aggreko’s rights to seek relief from the automatic

stay to foreclose its lien and/or other rights or defenses, to demand adequate assurance of future

performance, or to compel the Debtor’s assumption of its executory contracts with Aggreko and

the cure amounts owed thereunder.

8.     The filing of this Notice further shall not be construed as an admission that such filing is

required under the Bankruptcy Code, Texas state law, Louisiana state law or any other applicable

law. Additionally, Aggreko makes no admission of fact or law and asserts that its liens are senior

to and effective against entities that may have acquired lien rights in the above styled bankruptcy

cases. Aggreko reserves all rights to amend and/or supplement this Notice.

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       Dated: November 3, 2020.

                                            Respectfully submitted,

                                            GRUENERT LAW GROUP

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                                            ATTORNEYS FOR AGGREKO, LLC



                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on November 3, 2020.



                                            /s/ Thomas G. Gruenert
                                            Thomas G. Gruenert




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